                          IN THE UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                      AT NASHVILLE

 NEELY ENGINEERING &                                 )
 CONTRACTING, LLC,                                   )
                                                     )
          Plaintiff,                                 )
                                                     )
 v.                                                  )   Case No. 3:20-cv-00415
                                                     )   JURY DEMAND
 WONDER PORCELAIN GROUP, LLC,                        )
 d/b/a AMERICAN WONDER                               )
 PORCELAIN, Individually and as                      )
 Statutory Trustee on Behalf of Neely                )
 Engineering & Contracting, LLC,                     )
                                                     )
          Defendant.                                 )

      DEFENDANT’S MOTION TO COMPEL MEDIATION AND HOLD INTERIM
      DEADLINES IN ABEYANCE PENDING RESOLUTION OF MEDIATION, OR
       ALTERNATIVELY, DEFENDANT’S MOTION FOR EXTENSION OF TIME

         Defendant Wonder Porcelain Group, LLC d/b/a American Wonder Porcelain (“Wonder”

or “Defendant”), by and through its undersigned counsel at Baker Donelson, and pursuant to 28

U.S.C. § 652, Rule 7 of the Federal Rules of Civil Procedure, and Rule 16 of the Local Rules of

Court for the United States District Court for the Middle District of Tennessee, respectfully moves

the Court to Compel the Parties to Mediation and hold all interim litigation deadlines, including

Wonder’s responsive pleading deadline, in abeyance pending resolution of the mediation.

Alternatively, Wonder respectfully requests an extension of Wonder’s responsive pleading

deadline until seven (7) days after the date an impasse is declared in said mediation or this Court

denies this Motion. In support thereof, Wonder states as follows:

         A.        WONDER REQUESTS THAT THIS COURT ORDER THE PARTIES TO MEDIATE.

         1.        Plaintiff filed its nine (9) count Complaint against Wonder on May 14, 2020,

seeking damages and other remedies. Far from being a short plain statement of the alleged facts
                                                 1

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entitling Plaintiff to claimed relief in accordance with Rule 8, the ninety-nine (99) paragraphs of

the Complaint contain exceedingly complex and multi-faceted factual allegations, precluding a

straightforward admission or denial for each paragraph of the Complaint.

         2.        Plaintiff’s Complaint incorporated by reference, as an exhibit, certain “NEC

General Terms and Conditions” upon which Plaintiff repeatedly relies for its alleged entitlement

to various claims, damages and other rights. 1 The NEC General Terms and Conditions alleged by

Plaintiff contains the following provision, in pertinent part:

         6. Resolution. All disputes, claims and other matters in controversy (other than
         nonpayment by Client) between NEC and Client arising out of or in any way related
         to this Agreement will be submitted to non-binding mediation before and as a
         condition precedent to other remedies provided by law.

(emphasis added). This provision in Plaintiff’s Exhibit 2 requires that mediation occur as a

condition precedent to other remedies provided by law.

         3.        Plaintiff seeks more than $1.5 Million in alleged damages in its Complaint relating

to multiple contracts. A small portion of the Plaintiff’s claim was subject to agreed amounts, as

confirmed in Wonder’s May 6, 2020 correspondence which offered payment of those agreed

amounts totaling approximately $300,000 with a reservation of both parties’ rights regarding the

remaining issues in dispute between the parties. 2 The other disputes, claims and other matters in

controversy include significant defects in Plaintiff’s performance of a construction contract for




1
  The NEC General Terms and Conditions is attached as Exhibit 2 to Plaintiff’s Complaint (ECF #1-2), an excerpt of
which is attached to this Motion as Exhibit 1. Based upon the Complaint, it is clear that the NEC General Terms and
Conditions form a basis for Plaintiff’s allegations and claims, at least in part. However, Wonder advises that Plaintiff
did not append a copy of the NEC General Terms and Conditions to the proposals which Plaintiff seeks to enforce in
its Complaint or contemporaneously furnish a copy of the NEC General Terms and Conditions to the individual
charged with negotiating the proposals on behalf of Wonder. As such, Wonder must reserve the right to confirm
through discovery the authenticity, completeness and validity of the NEC General Terms and Conditions appended to
Plaintiff’s Complaint as Exhibit 2. Notwithstanding this, because Plaintiff bases its claims and remedies on the NEC
General Terms and Conditions and urges enforcement of those terms, Plaintiff should be estopped from
simultaneously refusing to comply with an express condition precedent upon Plaintiff as set forth in that document.
2
  A copy of the applicable correspondence dated May 6, 2020 is attached hereto as Exhibit 2.
                                                           2

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improvement of Wonder’s projects. In its May 6 correspondence, Wonder confirmed various

aspects of the dispute among the parties, including among other issues: (1) wrongful termination

by Plaintiff; (2) Plaintiff’s performance of defective work and work in violation of applicable

codes; (3) Plaintiff’s failure to provide notice and opportunity to cure pursuant to governing law;

(4) disputes relating to the scope of the contracts at issue; and (5) Plaintiff’s requests for change

orders and additional costs for work otherwise within the scope of the original contract. For the

small portion of undisputed claims relating solely to payment, Wonder’s May 6 correspondence

made an itemized and detailed offer of payment to Plaintiff in Wonder’s attempt to disentangle

any agreed payment issues from the broader and more substantive contract disputes.

         4.        By correspondence dated May 4, 6, and 12, 2020, Wonder agreed to mediate the

disputed issues identified above, suggested potential mediators, and requested confirmation of

Plaintiff’s commitment to mediate. 3

         5.        Notwithstanding Wonder’s correspondence regarding its desire to mediate,

Plaintiff instead filed its Complaint on May 14, 2020, for damages in excess of $1.5 Million

without agreeing or attempting to mediate the disputed issues.

         6.        Plaintiff bases its claims, in part, on the NEC Terms and Conditions which require

the parties to engage in mediation prior to litigation as to disputes arising under the contract as a

“condition precedent” to pursuing legal remedies regarding the various disputed issues. Plaintiff

should not be permitted to simultaneously urge enforcement of the document while disregarding

other requirements of Plaintiff in the document, and Wonder should not have to incur the expense,

delay and fees associated with litigating prior to the completion of the dispute resolution procedure.

Moreover, Plaintiff is seeking to recover attorneys’ fees in part based upon the NEC Terms and


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  Exhibit 2. The May 4 and May 12, 2020 e-mail correspondence between Counsel regarding an intent to mediate is
attached to this Motion as Exhibit 3.
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Conditions, and as such it should not be permitted to increase the fees to be incurred in this

litigation without first complying with a procedure that Plaintiff has submitted to the Court as a

governing document.

         7.        This Court is vested with the authority and discretion under 28 U.S.C. § 652 and

Local Rule 16(a) and (b) to compel alternative dispute resolution.

         8.        Federal policy favors a preference for non-judicial dispute resolution. See Bakers

Union Factory No. 326 v. ITT Cont’l Baking Co., 749 F.2d 350, 352 (6th Cir. 1984); Fisher v. GE

Med. Sys., 726 F.Supp.2d 891, 893 (M.D. Tenn. 2003).

         9.        In order to facilitate a negotiated settlement in this case, Wonder believes that the

assistance of a neutral mediator would be beneficial to the parties because of the complex issues

and the damages at issue in this case. Wonder anticipates that this case will consume a large

amount of the Court’s time and will be expensive for all the parties involved if it were to be

resolved at trial. By ordering mediation, this Court would be enforcing the terms of an agreement

relied upon by Plaintiff as well as using judicial resources in the most efficient manner to pursue

every meaningful opportunity for a more expedient and cost-effective resolution.               Even if

mediation proved unsuccessful, mediation of this matter will likely serve to narrow issues in

dispute for trial, potentially saving a significant amount of judicial resources as well as litigation

costs.

         10.       Moreover, Wonder asserts that there is good cause to hold matters at this early stage

in abeyance pending pursuit of mediation. The United States Supreme Court has long held that the

power to stay proceedings is “incidental to the power inherent in every court to control the

disposition of the causes on its docket with economy of time and effort for itself, for counsel, and

for the litigants.” Landis v. North Am. Co., 299 U.S. 248, 255 (1936); see also Gray v. Bush, 628


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F.3d 779, 786 (6th Cir. 2010). In the context of a request for a stay pending the resolution of a

motion in the same case, courts have addressed the motion in the context of case management and

used a “good cause” standard. Fireman’s Fund Ins. Co. v. St. Paul Fire & Marine Ins. Co., No.

3-12-0851, 2013 WL 12309838, at *2 (M.D. Tenn. July 15, 2013). This matter is new to the

Court’s docket, and the parties have not engaged in substantial procedural or pre-trial litigation or

otherwise stalled or delayed in pursuit of discovery or other matters that might weigh against an

abeyance.

         11.       Here, Wonder requests a stay for only so long as necessary to pursue the procedure

required in the agreement the Plaintiff relies upon in support of its Complaint. By holding matters

and deadlines in abeyance pending resolution of the alternative dispute resolution procedure as to

the disputed items, this Court will be conserving substantial judicial and party resources and acting

in accordance with the document upon which Plaintiff bases its claims against Wonder.

         12.       Wonder respectfully submits that Plaintiff’s failure to comply with the dispute

resolution provision is a failure of a condition precedent to litigation, and an Order compelling this

matter to mediation serves the interests of justice, the conservation of judicial and party resources,

and the recognition of Plaintiff’s own contract terms. Each of these factors weigh in favor of this

this Court compelling the parties to mediate their disputes in this action while also providing good

cause to hold interim deadlines in abeyance.

         B.        ALTERNATIVELY, WONDER REQUESTS AN EXTENSION OF TIME OF SEVEN (7)
                   DAYS AFTER EITHER AN UNSUCCESSFUL MEDIATION OR A DENIAL OF THE
                   MOTION TO COMPEL FOR THE FILING OF WONDER’S RESPONSIVE PLEADING TO
                   THE COMPLAINT.

         13.       Wonder asserts that this Motion to Compel Mediation is brought in good faith and

with a reasonable basis due to the existence of the numerous disputed performance and scope of

contract issues in this case. Wonder also advises this Court of its good faith intent to engage in a

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meaningful and productive mediation with a goal of resolving all open disputed items consistent

with the written record before the Court. In the event a mediation proves unsuccessful or this Court

denies the Motion to Compel Mediation, Wonder requests that this Court grant Wonder an

extension of time of seven (7) days from the date of the declaration of an impasse by the mediator

or the Court’s denial of the instant Motion to Compel Mediation to file Wonder’s responsive

pleading to Plaintiff’s Complaint.

         14.       Given the complexity of the Complaint and nature of the wide-ranging disputes at

issue, a seven (7) day extension is an extremely modest period of time that will not unduly delay

or prejudice any party or the judicial process. Given the potential preservation of resources for

following the dispute resolution procedure, Wonder asserts that there is good cause for the grant

of the extension of time requested herein.

         15.       Wonder provided notice to lead counsel for the Plaintiff prior to filing the instant

Motion to Compel Mediation to request Plaintiff’s consent to the Motion and avoid the need for

submission of the matter to the Court. However, Plaintiff did not agree to the relief requested and

advised that it would not consent to the Motion.

         WHEREFORE, Wonder respectfully requests that the Court enter an Order providing the

following relief:

         (1) Order the parties to engage in Mediation, holding interim Court and pleading deadlines

               in abeyance pending the outcome of the mediation, or

         (2) Alternatively, granting Wonder an extension of time for the filing of its responsive

               pleading until seven (7) days after either a mediator’s declaration of an impasse at

               mediation or after this Court’s denial of the instant Motion to Compel Mediation, and

         (3) For such other and further relief as the Court deems just and proper.


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                                              Respectfully submitted,


                                              /s/ Albert L. Chollet III
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                                              Albert L. Chollet III (BPR #024356)
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                            LOCAL RULE 7.01 CERTIFICATION
        Pursuant to Local Rule 7.01, undersigned counsel attests that on May 9, 2020 counsel made
a good faith disclosure of the issues contained in this Motion and submitted a request to Plaintiff’s
counsel for consent to the relief requested herein, and Plaintiff’s counsel advised in response that
the relief requested in this Motion will be opposed.




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                                 CERTIFICATE OF SERVICE
         The undersigned hereby certifies that on Wednesday, June 10, 2020, a copy of the
foregoing filed electronically. Notice of this filing will be sent by operation of the Court's
electronic filing system to all parties indicated on the electronic filing receipt. Parties may access
this filing through the Court's electronic filing system.

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                                               /s/ Albert L. Chollet III
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